                       IN THE UNITED STATES DISTRICT COURT
                   IN AND FOR THE NORTHERN DISTRICT OF IOWA

DONGHYUK KIM                               )
                                           )
        Plaintiff,                         )          Case No. 19-2037
                                           )
  vs.                                      )
                                           )
THE UNIVERSITY OF NORTHERN                 )
IOWA, MARK A. NOOK, President of the )
University of Northern Iowa in his         )
official capacity, LEAH GUTKNECHT,         )
in her individual and official capacities, )
CHRISTINA ROYBAL, in her individual )
and official capacities, LESLIE K.         )
WILLIAMS, in her individual and            )
official capacities, PAULA KNUDSON,        )
in her individual and official capacity,   )
NICHOLAS RAFANELLO, in his                 )
 individual and official capacities,       )
ALLYSON RAFANELLO, in her                  )
individual and official capacities,        )
                                           )
        Defendants.                        )

                        Amended Joint Proposed Briefing Schedule on
                                    Motion to Dismiss


       On October 1, 2019, the Defendants filed a Motion to Dismiss under Fed. R. Civ. P.

12(b)(6). (ECF Doc. 28). The Plaintiff was ordered to respond to the Motion by October 15, 2019.

Counsel for the Plaintiff sought from counsel for the Defendants an extension of the deadline to

respond. These discussions resulted in an agreement between the parties and a Joint Proposed

Briefing and Hearing schedule. On October 7, 2019, the parties filed a Joint Proposed Briefing

Schedule with the Court. (ECF Doc. 36). On October 8, 2019, the Court entered an Order which

denied the requested relief without prejudice, permitting the parties to re-file the motion providing


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facts to demonstrate good cause for the requested extension. (ECF Doc. 37). In accordance with

this Order, the parties hereby respectfully submit the following facts demonstrate good cause to

support the parties’ Joint Proposed Briefing schedule:

           •   Plaintiff’s primary counsel, Thomas P. Frerichs, was out of the office from

               September 27, 2019 until October 6, 2019 and his only day in the office during the

               week of October 7, 2019 was Monday, October 7, 2019.

           •   Mr. Frerichs is also preparing for a jury trial in Johnson County, Case No.

               LACV079404, Donald L. Clark v. State of Iowa, which is set to begin on October

               29, 2019; a brief and addendum in the Eighth Circuit, Case No. 19-2610, Bates v.

               Richardson et. al. due on October 21, 2019; and a 200-page post-conviction relief

               petition in Boppre v. State of Nebraska, Case No. CR35847 due on October 16,

               2019.

           •   Plaintiff’s co-counsel, Nesenoff & Miltenberg, LLP, is currently preparing an

               expedited appeal in the First Circuit, as well as a pending motion for preliminary

               injunction in Connecticut. In addition, Mr. Bernstein had to take a brief leave due

               to the sudden and unexpected passing of his brother.

           •   Defense counsel has two separate trials scheduled for late November/early

               December 2019, which would impact their ability to prepare for/attend a hearing

               during that time.

       Accordingly, counsel for the parties jointly proposed the following schedule, to wit:

       November 5, 2019       Plaintiff’s Response to Motion to Dismiss filed by Defendant(s)

       November 26, 2019      Defendants’ Reply to Plaintiff’s Response to Motion to Dismiss

       January, 2020 or       Hearing on Defendants’ Motion to Dismiss
       February, 2020

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       (or at another time
       after January 2020
       as determined by
       by this Court)

       The aforementioned facts demonstrate good cause for the requested relief and the Plaintiff

respectfully requests the Court grant the parties amended joint motion.


       Respectfully submitted this 9th day of October, 2019.


/s/ Thomas P. Frerichs_______                               /s/ Christopher J. Deist_________
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